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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF CALIFORNIA
                        SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847

                                      SUPPLEMENTAL DECLARATION
COMMUNITY LEGAL SERVICES IN
                                      OF LISA KOOP (NIJC) IN SUPPORT
EAST PALO ALTO, et al.,
                                      OF PLAINTIFFS’ MOTION FOR A
                                      PRELIMINARY INJUNCTION
              Plaintiffs,

     v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

            Defendants.
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                  SUPPLEMENTAL DECLARATION OF LISA KOOP
                   NATIONAL DIRECTOR OF LEGAL SERVICES
                FOR THE NATIONAL IMMIGRANT JUSTICE CENTER

I, Lisa Koop, make the following statements on behalf of myself and the National Immigrant Justice
Center (NIJC). I certify under penalty of perjury that the following statement is true and correct
pursuant to 28 U.S.C. § 1746.
   1. I incorporate my Declaration in Support of Plaintiffs’ Motion for a Temporary Restraining
      Order and Preliminary Injunction (Dkt. 7-13) as if fully set forth hererein.

   2. My name is Lisa Koop. I am the National Director of Legal Services at the National
      Immigrant Justice Center (NIJC). NIJC is based in Chicago, Illinois and provides legal
      services to immigrants. NIJC is dedicated to providing legal services to indigent
      unaccompanied immigrant children who are not in detention as well as those held in the
      custody of the Office of Refugee Resettlement (ORR) in Illinois and Indiana.

   3. Since the ORR funding ceased, NIJC was forced to temporarily shift staff members to work
      on other NIJC projects. Without secured ORR funding, NIJC’s ability to continue its work
      of providing legal services to immigrant children through the Children’s Protection Project
      is at imminent risk, without drastic restructuring.

   4. NIJC has urgent filings for immigrant children imminently due. For example, on Monday
      of this week, after years of very limited asylum interview scheduling by the government,
      NIJC received notice of three asylum interviews scheduled for the third week in April.
      NIJC has about 250 asylum matters for unaccompanied children pending before the
      Chicago Asylum Office and expects more of those matters to be set for interviews in the
      near future. NIJC has 43 special immigrant juvenile cases to be filed, with over half of
      those cases awaiting state court hearings on requests for predicate orders. NIJC has about
      four U-visa and four T-visa cases in urgent need of filing.

   5. Staff at the ORR-funded children’s shelters and long-term foster care programs which
      house the immigrant children NIJC was funded to serve have asked NIJC staff to meet with
      children in their care. They report they are without recourse or answers for children when
      NIJC is unable to offer services to newly arrived children and has limited capacity to
      respond to the legal needs of existing clients.

   6. Since the termination of funding from ORR for legal services for children, NIJC has
      aggressively sought to recruit pro bono attorneys to represent immigrant children. NIJC
      has requested to place pro bono cases with major law firms with offices in Chicago. Of
      those firms, one firm has offered to take two cases following training by NIJC. Another

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       firm suggested they may be able to take cases when their summer associates arrive in a few
       weeks. Several of NIJC’s usual partner firms have suspended acceptance of new
       immigration matters due to messaging from the White House about pro bono involvement
       in immigration matters. Of the 250 children’s asylum matters NIJC is seeking to place with
       pro bono attorneys, less than ten are likely to be placed in the coming weeks.

   7. To equip pro bono attorneys to handle children’s asylum matters, NIJC has scheduled a
      pro bono training the third week in April. Three NIJC asylum experts will prepare and
      present that training, with support from NIJC’s pro bono manager. Pro bono attorneys who
      attend the training will receive intensive guidance from NIJC on asylum law and practice
      and best practices for working with immigrant children. To sustain a pro bono program,
      NIJC requires expert staff with significant experience who are available to support matters
      handled by pro bono attorneys, who are not immigration law experts and often have little
      familiarity with the agencies and systems involved in children’s asylum matters. Without
      ORR funding to maintain those pro bono support positions, NIJC will not be able to provide
      pro bono attorneys with the support they expect and require to represent immigrant children.

   8. Pro bono attorneys who accept matters through NIJC will typically only do so when NIJC
      commits to provide ongoing training and support. At present, most law firms that handle
      pro bono matters are unlikely to accept full representation of an asylum matter for the
      duration of the case. Rather, their preference is for NIJC to remain co-counsel in pro bono
      matters and to revert the case to NIJC after a set time. To run a pro bono project, NIJC
      must have capacity to re-absorb cases when pro bono attorneys become unavailable to
      continue pro bono matters. Given the length of many immigration cases, it is common for
      pro bono attorneys to transition away from their firms or otherwise become unavailable to
      continue representing their child immigrant clients.

   9. The confluence of rapid filing of children’s charging documents by Immigration and
      Customs Enforcement (ICE) with the immigration court (which results in court hearings
      where children could be deported), the sudden scheduling of children’s asylum interviews
      after years of case stagnation, and the chilling effect of anti-pro bono attorney messaging
      from the White House results in a dire situation for the immigrant children NIJC seeks to
      serve. Children face deportation hearings and asylum interviews that will determine their
      futures at the very moment immigration attorneys have been unfunded and pro bono
      attorneys have been cautioned to avoid immigration matters. NIJC fears irreparable harm
      will ensue not only to NIJC, which may be forced to reduce its Children’s Protection
      Project, including pro bono support, but to the children who desperately need NIJC’s expert
      representation.


I declare under penalty of perjury that the foregoing is true and correct.

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Executed on the 4th of April 2025, in Goshen, Indiana.
s/ Lisa Koop
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